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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI-DADE DIVISION

  GABRIEL JOSE DE CAIRES GUERRA,
  an individual

           Plaintiff,                                                  CASE NO.:

  v.

  TRANSUNION LLC,
                                                                     DEMAND FOR JURY TRIAL
            Defendants.
                                                          /

                                   SUMMONS IN CIVIL ACTION
   To:
                                        Trans Union LLC
                                        c/o: Corporation Service Company
                                        1201 Hays Street
                                        Tallahassee, Florida 32301

            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received
   it) — or 60 days if you are the United States or a United States agency, or an officer or employee
   of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff
   an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
   Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
   name and address are:

                                        Monique N. Reyes, Esq.
                                     Consumer Rights Law, PLLC
                                848 Brickell Ave. PH-5 Miami, FL 33131
                                         Phone: (305) 686-0236
                                 E-mail: monique@consumerrights.law

         If you fail to respond, judgment by default will be entered against you for the relief
   demanded in the complaint. You also must file your answer or motion with the court.

                                                                CLERK OF COURT


   Date:
                                                                  Signature of Clerk of Deputy Clerk
